Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 1 of 7 PageID #: 23933




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------- X
                                                            :
  UNITED STATES OF AMERICA,                                 :
                                                            :
                         - against -                        : ORDER ON LOSS CALCULATION
                                                            :
  MARK NORDLICHT,                                           : 16-cr-00640 (BMC)
  DAVID LEVY, and DANIEL SMALL                              :
                                                            :
                             Defendants.                    :
                                                            :
 ----------------------------------------------------------- X

 COGAN, District Judge.

        Having received briefing from the parties, the Court held a hearing on the parties’

 different theories of the amount of loss, if any, properly attributable to defendants’ conduct under

 United States Sentencing Guideline § 2B1.1. The facts relevant to the case have been set forth in

 several prior decisions of this Court and the Second Circuit and familiarity is therefore assumed.

 The Court’s findings are as follows:

        1.      After providing a base offense level in subsection § 2B1.1(a) for fraud offenses,

 the Guidelines set out in subsection (b)(1) a loss table that prescribes offense-level increases

 pegged to the amount of loss. The Guidelines provide that a defendant’s offense level is to be

 calculated based in part on the amount of loss the offense of conviction either caused or was

 intended to cause, whichever is greater. See U.S.S.G. § 2B1.1, cmt. n.3(A) (“[L]oss is the

 greater of actual loss or intended loss.”).

        2.       “‘Actual loss’ means the reasonably foreseeable pecuniary harm that resulted

 from the offense.” Id. at n.3(A)(i). “Intended loss” “means the pecuniary harm that the

 defendant purposely sought to inflict” and “includes intended pecuniary harm that would have

 been impossible or unlikely to occur (e.g., as in a government sting operation, or an insurance
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 2 of 7 PageID #: 23934




 fraud in which the claim exceeded the insured value).” Id. at n.3(A)(ii). The Court “need only

 make a reasonable estimate of the loss.” Id. at n.3(C).

        3.      Unsurprisingly, none of the parties has relied on a theory of intended loss. “When

 calculating intended loss, the appropriate inquiry is what the loss would have been if the

 defendant had not been caught.” United States v. Frisch, 704 F.3d 541, 544 (8th Cir. 2013).

 Here, actual loss and intended loss are the same because it was defendants’ intention that the

 indenture amendments pass so they could pay off debt, and they succeeded. Defendants are,

 therefore, responsible for any loss resulting from those events. Thus, the loss calculation inquiry

 demands that I look at the actual loss caused by defendants’ actions.

        4.      Because the fraud occurred via a manipulated consent solicitation vote, I must

 determine how, if at all, the defendants’ manipulation of that vote caused Black Elk bondholders

 to suffer an actual loss. See United States v. Ebbers, 458 F.3d 110, 128 (2d Cir. 2006) (“[T]he

 loss must be the result of the fraud.”). The Court is only concerned with the loss suffered by

 non-affiliated bondholders who chose not to tender their bonds or vote in favor of the

 amendments. The bondholders who tendered are not victims because they got all their money

 back and had no interest in the outcome of the vote. The bondholders who did not tender but

 voted in favor of the amendments are not victims because they supported the effort to amend the

 indenture.

        5.      The Government called the same two witnesses at both trials to explain its theory

 of loss: Todd Pulvino, an investor at CNH Partners, and Dixon Yee, an investor at Phoenix

 Investment Adviser. Both were highly sophisticated investors who chose not to tender or vote in

 favor of the amendments.




                                                  2
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 3 of 7 PageID #: 23935




          6.       Based on their testimony, the Government and the Probation Department contend

 there was an actual loss suffered by the independent bondholders. Both, however, view that loss

 as difficult to quantify and thus contend the Court should resort to using the defendants’ “gain”

 as the measure of loss. 1 Per Application Note 3(B), courts may use gain “as an alternative

 measure of loss only if there is a loss but it cannot reasonably be determined.” U.S.S.G. § 2B1.1,

 cmt. n.3(B) (emphasis added). “Such a situation could arise, for example, where authorities are

 unable to identify any victims of a fraud offense and, therefore, cannot ascertain the losses they

 suffered.” United States v. Abiodun, 536 F.3d 162, 167 (2d Cir. 2008).

          7.       I disagree that the loss in this case cannot reasonably be determined. To the

 contrary, the loss calculation here is fairly straightforward and far less complex than in many

 civil securities fraud cases. When a charged fraud involves a misrepresentation regarding a

 publicly traded security, loss is generally determined by looking at the change in the asset’s price

 after the fraud is revealed to the public. See United States v. Rutkoske, 506 F.3d 170, 179 (2d

 Cir. 2007) (“[T]here is no loss attributable to a misrepresentation unless and until the truth is

 subsequently revealed and the price of the stock accordingly declines.”) (quoting United States v.

 Olis, 429 F.3d 540, 545 (5th Cir. 2005)). Given that “[m]any factors may cause a decline in [a

 bond] price,” the Court must exclude deflations caused by “other factors, such as changed

 economic conditions,” but this process “inevitably cannot be an exact science.” Rutkoske, 506




 1
   The Government and Probation disagree on the proper measure of “gain” in this case, with the Government
 contending the figure is $70 million and Probation putting it at $9 million. The Government’s $70 million claim
 borders on frivolous. The total value of the bonds owned by non-affiliated, non-tendering bondholders was less than
 $39 million. Even if every non-affiliated bondholder lost 100% of their money in bankruptcy, the loss would not
 remotely approach $70 million. Obviously, then, $70 million is not an appropriate proxy for “loss” in this case. See
 generally United States v. Bazantes, 978 F.3d 1227, 1251 (11th Cir. 2020) (“We will not substitute gain as a proxy
 for loss where there is no means of determining whether the defendant’s gain is a reasonable estimate of the victim’s
 loss.”) (quoting United States v. Coscia, 866 F.3d 782, 801 (7th Cir. 2017)).


                                                          3
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 4 of 7 PageID #: 23936




 F.3d at 179. In other words, here, the “loss” is any drop in the market value of the bonds caused

 by defendants’ misrepresentation.

        8.      Most “loss” cases in the securities fraud context involve defendants whose

 fraudulent conduct spanned several years and involved illegally propping up stock prices through

 unlawful sales and trading tactics or by using fraudulent accounting to hide cash flow problems.

 See, e.g., Rutkoske 506 F.3d at 170; Ebbers, 458 F.3d at 110; Olis, 429 F.3d 540. Our case is

 unusual in that defendants did not commit a long-term and secret fraud to prop up an asset’s

 price; rather, the consequences of rigging the consent solicitation – amending the indenture,

 selling assets, and retiring preferred equity – were immediately known to the market, although

 the fraudulent act was still hidden. In other words, the result of defendants’ fraud was the very

 public change in the terms of Black Elk’s bond indenture. Given the open and singular nature of

 the modified rights here, any negative market reaction or impact on value should be easy to

 show. The Government just needs to point to a subsequent drop in bond price sufficient to

 demonstrate a link between defendants’ fraud and the supposed loss.

        9.      The Government built its entire case on the premise that the indenture amendment

 – permitting Black Elk to use the proceeds of the Renaissance sale to retire preferred stock –

 substantially devalued the bonds, such that, had investors known the amendment was going to

 pass, they might have tendered their bonds. If this was true, then the market for these bonds

 should have tanked the moment the Black Elk press release went out on August 14, 2014

 informing bondholders that the vote had passed.

        10.     But the opposite happened. After the consent solicitation passed, and with the

 market fully aware of the indenture amendments, the price of Black Elk bonds was stable and

 then rose to above par:




                                                  4
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 5 of 7 PageID #: 23937




 These facts, coupled with the historically high price of oil, support defendants’ narrative that the

 company’s bonds were seen as more secure after the amendments passed because Black Elk was

 able to retire some of its most burdensome debt. Notably, after Black Elk used the Renaissance

 proceeds to buy back its preferred equity (between August 18 and August 21), the price of Black

 Elk’s bonds rose above par. Prioritizing the repurchase of a tranche of securities that required

 Black Elk to pay 20% interest – rather than the bonds that demanded 13.75% interest – was a

 reasonable decision that would successfully offload the firm’s heaviest debt burden. The

 Government does not refute or address the possibility that the decision to buy back the 20%

 preferred equity may have caused Black Elk’s bond’s value to rise.

        11.     And despite the victim-witnesses’ claimed “shock” at the seemingly irrational

 result of the indenture vote, their subsequent behavior demonstrates that their long-term loss was

 not tied to the consent solicitation’s outcome or defendants’ actions. On August 14, 2014, Black

 Elk issued a press release that informed all Black Elk bondholders, including Yee and Pulvino,



                                                  5
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 6 of 7 PageID #: 23938




 of all the material facts – i.e., that the indenture amendments passed, and the Renaissance

 proceeds were going to be used to retire preferred equity. But even after the bondholders’ rights

 were supposedly diminished through fraud, Pulvino’s firm, CNH, continued to hold Black Elk

 Bonds and Yee’s firm, Phoenix, purchased 529,000 bonds on August 19 and 20, mere days after

 the vote was announced (and later bought an additional 11 million). 2 At this point, bondholders

 knew all material information and could have sold their bonds for a profit. That they declined to

 do so has nothing to do with defendants’ misrepresentation regarding the number of affiliates

 voting on the indenture amendments.

          12.      What caused their loss was a massive and unforeseen collapse in the price of oil

 that rattled the entire energy market and forced Black Elk into bankruptcy. By January 2015,

 five months after the bond amendments passed, the price of oil had dropped by approximately

 50%. This resulted in a drop in the value of Black Elk – a drop that was entirely consistent with

 that of Black Elk’s peer firms. See [994] at 10; see also Rutkoske 506 F.3d at 179 (A “decline in

 shares of comparable companies would merit consideration.”). “Losses from causes other than

 the fraud must be excluded from the loss calculation,” Ebbers, 458 F.3d at 128, and to tie the loss

 caused by these extraneous events back to the passage of the consent solicitation would be pure

 speculation. The Government has not shown that any loss to bondholders was the result of

 defendants’ misrepresentation, the amendments to the Black Elk bond indenture, or the

 subsequent payout of preferred equity.

          13.      To the extent that investors lost money on their Black Elk bonds, those investors

 made strategic choices based on their understanding of the market, Black Elk’s finances, and


 2
   Yee testified that Phoenix purchased half a million more bonds after the consent solicitation in order to “establish a
 market value for the bonds.” This position makes no sense; if Phoenix wanted to get rid of the bonds, a market for
 these bonds could be found just as easily by setting a high sales price and seeing if anyone would bite. Nor does this
 explain the additional 11 million bonds that Phoenix bought in the following months.


                                                            6
Case 1:16-cr-00640-BMC Document 1005 Filed 07/18/23 Page 7 of 7 PageID #: 23939




 with full knowledge of the bond indenture’s amended terms. If they were right, their decisions

 could have produced substantial returns, and this case would never have been brought. But these

 sophisticated actors misjudged. Their loss cannot be attributed to defendants’ behavior. Cf.

 Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 345 (2005) (Securities fraud “statutes make

 [private] actions available, not to provide investors with broad insurance against market losses,

 but to protect them against those economic losses that the misrepresentations actually cause.”).

        14.     Accordingly, I find that the amount of loss pursuant to Guideline § 2B1.1 is zero.

 The parties are directed to confer and propose dates to proceed to sentencing.




 SO ORDERED.



                                                      U.S.D.J.


 Dated: Brooklyn, New York
        July 17, 2023




                                                  7
